PROB 12B
(REVISED 5/2011)


                             United States District Court
                                                   for
                                 Middle District of Tennessee

              Petition to Modify the Conditions or Term of Supervision
Name of Offender: Jesse Santo Pecora             Case Number: 3:11-00020-1
Name of Current Judicial Officer: Honorable Aleta A. Trauger, U.S. District Judge
Name of Sentencing Judicial Officer: Honorable William J. Haynes, Jr., U.S. District Judge
Date of Original Sentence: June 1, 2015
Original Offense: 21 U.S.C. § 846, Conspiracy to Possess With Intent to Distribute Cocaine
Original Sentence: 96 month's custody followed by five years' supervised release
Type of Supervision: Supervised Release         Date Supervision Commenced: December 28, 2017
Assistant U.S. Attorney: Phil H. Wehby          Defense Attorney: David L. Komisar


                                    PETITIONING THE COURT

■To modify the release conditions as follows:

The defendant shall participate in a program of drug testing and substance abuse treatment which
may include a 30-day inpatient treatment program followed by up to 90 days in a community
correction center at the direction of the United States Probation Office. The defendant shall pay all
or part of the cost for substance abuse treatment if the United States Probation Office determines the
defendant has the financial ability to do so or has appropriate insurance coverage to pay for such
treatment.

The defendant shall participate in a mental health program as directed by the United States Probation
Office. The defendant shall pay all or part of the cost of mental health treatment if the United States
Probation Office determines the defendant has the financial ability to do so or has appropriate
insurance coverage to pay for such treatment.

The defendant shall furnish all financial records, including, without limitation, earnings records and
tax returns, to the United States Probation Office upon request.

 THE COURT ORDERS:                                            I declare under penalty of perjury that
   No Action                                                  the foregoing is true and correct.
  yne modification(s) as noted above.                         Respectfully submitted,
 ❑ Other

 Considered this Zly of               ~`~        5 2018,
 and made a part of the records in the above case.
                                                                           James Foster
                                                                      U.S. Probation Officer
                         1
                     r                                        Place     Nashville, TN

               Aleta A. Tfauger
              U.S. District
   Case 3:11-cr-00020       Judge
                         Document 203 Filed 08/13/18      August
                                                  Date Page 1 of 13, 2018
                                                                 4 PageID #: 487
                     0
Petition to Modify the Condition                                                                           Page 2
or Term of Supervision


                                            ALLEGED VIOLATION

The probation officer believes that the offender has violated the following condition(s) of supervision:

Violation No. Nature of Noncompliance

1.                  The defendant shall refrain from excessive use of alcohol and shall not purchase,
                    possess, use, distribute, or administer and controlled substance or any paraphernalia
                    related to any controlled substance, except as prescribed by a physician.

                    On March 9, 2018, Mr. Pecora submitted a urine specimen which tested positive for
                    methamphetamine and cocaine. Although Mr. Pecora initially denied the test results, he
                    in admitted in subsequent conversations that he has periodically struggled with drug use.

2.                  The defendant shall notify the probation officer at least 10 days prior ro any changes
                    in residence or employment.

                    Between January 2018 and March 8, 2018, Mr. Pecora failed to report to the probation
                    officer that he had been fired by the same employer twice, and that information was
                    discovered only through investigation by the probation officer.

                   On the morning of March 8, 2018, Mr. Pecora was questioned by the probation officer
                   concerning his most recently reported employment position as a tow truck driver for
                   Southside Towing, in Nashville. Mr. Pecora stated that he had quit that job earlier the
                   same morning following a dispute with his employer concerning his supervisor's
                   dissatisfaction with his work performance. The probation officer subsequently made
                   contact with Southside Towing and learned that Mr. Pecora's statements concerning his
                   employment status were not accurate or forthcoming. In fact, Mr. Pecora had been fired
                   from Southside Towing in mid-January 2018, due to "repeated laziness," but he failed to
                   report that change of employment to the probation officer. Southside Towing re-hired Mr.
                   Pecora in late February 2018, but he reportedly displayed poor performance, failing to
                   follow the company's chain of command and failing to execute work directives. This
                   ultimately led to Mr. Pecora being fired for a second time on the evening of March 2,
                   2018.

                   Later on the morning of March 8, 2018, when advised by the probation officer of the
                   information learned from Southside Towing, Mr. Pecora admitted that he had failed to
                   report that information to the probation offer in a timely or honest fashion, and he
                   apologized for his conduct.

3.                 The defendant shall not associate with any persons engaged in criminal activity,
                   and shall not associate with any person previously convicted of a felony unless
                   granted permission to do sob the he probation officer.

                   In June 2018, without having requested or been granted permission to do so, Mr. Pecora
                   associated with a female acquaintance named Amy Lovlein, who was previously
                   convicted of felony Money Laundering in 2009.

                   According to Mr. Pecora, in June 2018, he associated with Ms. Lovlein, whom he
                   described as a friend he originally met 18 years prior. Mr. Pecora reportedly gave Ms.
                   Lovelien a one-way ride to Columbia, Tennessee, on June 7, 2018, dropping her off there
                   to meet unspecified friends. On June 13, 2018, at Ms. Lovelien's request, Mr. Pecora
                   drove her from Nashville to an apartment complex in Murfreesboro, Tennessee. There,
     Case 3:11-cr-00020 Document 203 Filed 08/13/18 Page 2 of 4 PageID #: 488
Petition to Modify the Condition                                                                             Page 3
or Term of Supervision


                    Mr. Pecora waited at his vehicle in the parking lot while Ms. Lovlein entered the
                    apartment complex to meet an unspecified friend. According to Mr. Pecora, he waited for
                    approximately 30 minutes until he was approached and questioned by three plain-clothed
                    officers of the Murfreesboro Police Department. According to Mr. Pecora, the officers
                    explained that Ms. Lovlein was being placed under arrest as the result of a "sting
                    operation," and she and would be charged with Prostitution. The officers reportedly asked
                    Mr. Pecora if he was acting as Ms. Lovlein's "pimp," which he denied, and conducted a
                    search of his vehicle which revealed no contraband. Mr. Pecora was allowed to leave
                    without incident, and a search of his criminal record indicates that he was not arrested or
                    charged in relation to these events. A review of Ms. Lovlein's criminal record indicates
                    that she was previously convicted of Money Laundering (a felony) and Criminal
                    Impersonation (a misdemeanor) in 2009, and was previously charged with (but not
                    convicted of) Promoting Prostitution in 2005.

                   When questioned by the probation officer, Mr. Pecora denied having been aware of Ms.
                   Lovlein's criminal history or any criminal behavior that she might currently have been
                   involved in. The probation officer noted that Mr. Pecora's admitted activities in relation
                   to Ms. Lovlein, particularly those on the evening of June 13, 2018, appeared quite
                   suspicious. In light of Ms. Lovlein's prior felony conviction, the probation officer advised
                   Mr. Pecora to discontinue his association with Ms. Lovlein.

Compliance with Supervision Conditions and Prior Interventions:
Jesse Santo Pecora began supervision in the Middle District of Tennessee on December 28, 2017, and is
scheduled to terminate supervision on December 27, 2022. Mr. Pecora currently resides in Nashville,
Tennessee, and is employed as a tow truck driver for Music City Motors. Mr. Pecora submitted a urine
specimen on June 18, 2018, which tested negative for any illicit substances.

U.S. Probation Officer Recommendation:
In light of Mr. Pecora's significant history of illegal drug use and his use of illegal drugs since initiating
supervised release, it is the probation officer's opinion that Mr. Pecora would benefit from enrollment in a
program of ongoing substance abuse testing and treatment. Given that Mr. Pecora cited emotional and
adjustment issues as precursors to his drug relapse, and in light of his history of mental health issues, the
probation officer believes that Mr. Pecora would also benefit from an additional special condition permitting
the probation officer to refer Mr. Pecora to such treatment and to monitor his participation. Finally, given
Mr. Pecora's failure to report past employment changes, the probation officer requests the imposition of a
special condition requiring Mr. Pecora to furnish all financial records at the officer's request.

It is respectfully recommended that Mr. Pecora's conditions of supervision be modified as indicated in this
petition in order that he may benefit substance abuse testing and treatment, mental health treatment, and
accountability concerning his financial status. Mr. Pecora concurs with the probation officer's
recommendation, is in agreement with the proposed condition, and has voluntarily waived his statutory right
to assistance of counsel and a hearing on these matters (see attachment).




Approved:                          `
             Britton Shelton
             Supervisory U.S. Probation Officer




    Case 3:11-cr-00020 Document 203 Filed 08/13/18 Page 3 of 4 PageID #: 489
PROB 49
                                  Waiver of Hearing to Modify Conditions
                       of Probation/Supervised Release or Extend Term of Supervision

                         UNITED STATES DISTRICT COURT
                                    for the
                         MIDDLE DISTRICT OF TENNESSEE
        I have been advised and understand that I am entitled by law to a hearing and assistance of
counsel before any unfavorable change may be made in my Conditions of Probation and Supervised
Release or my period of supervision being extended. By `assistance of counsel', I understand that
I have the right to be represented at the hearing by counsel of my own choosing if I am able to retain
counsel. I also understand that I have the right to request the Court to appoint counsel to represent
me at such a hearing at no cost to myself if I am not able to retain counsel of my own choosing.

        I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I also
agree to the following modification of my Conditions of Probation and Supervised Release or to the
proposed extension of my term of supervision:


        The defendant shall participate in a program of drug testing and substance abuse treatment
which may include a 30-day inpatient treatmentprogram followed by up to 90 days in a community
correction center at the direction of the United States Probation Office. The defendant shall pay
all orpart of the costfor substance abuse treatment if the United States Probation Office determines
the defendant has the financial ability to do so or has appropriate insurance coverage to pay for
such treatment.

       The defendant shall participate in a mental health program as directed by the United States
Probation Office. The defendant shall pay all or part of the cost for mental health treatment if the
United States Probation Office determines the defendant has the financial ability to do so or has
appropriate insurance coverage to pay for such treatment.

       The defendant shall furnish all financial records, including, without limitation, earnings
records and tax returns, to the United States Probation Office upon request.




 Witness:                                             Signed:
                 U.8. Probation Officer                      Prot iatio er or Supervised' e ea ez'
                                              -7. ~.,,~r
                                                 DATE




   Case 3:11-cr-00020 Document 203 Filed 08/13/18 Page 4 of 4 PageID #: 490
